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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )            8:06CR83
                     Plaintiff,                   )
                                                  )
       vs.                                        )              ORDER
                                                  )
MARK A . GUSTAFSON and                            )
SALWA ALI GUSTAFSON,                              )
                                                  )
                     Defendants.                  )


       This matter is before the court on the oral motion of defendants Mark A. Gustafson
and Salwa Ali Gustafson for a continuance of the trial due to the unavailability of their
counsel. The motion was made during a July 19, 2006, evidentiary hearing on the
Gustafson’s motion to dismiss Count I of the Indictment. The government had no objection
to the motion. The Gustafsons acknowledged that the additional time would be excluded
under the Speedy Trial Act.
       The motion to continue is granted and trial of this matter is rescheduled before
Senior Judge Lyle E. Strom and a jury commencing at 9:00 a.m. on November 13, 2006.
The additional time arising as a result of the granting of the request, i.e., the time between
July 19, 2006 and November 13, 2006, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason that
counsel require additional time to adequately prepare the case. The failure to grant
additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
       IT IS SO ORDERED.
       DATED this 19th day of July, 2006.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
